                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

   SHARON EUL et.al.              )
   on behalf of plaintiffs and a class,
                                  )
                                  )                   15-cv-7755
               Plaintiffs,        )
                                  )                   Honorable Ruben Castillo
         vs.                      )                   Magistrate Judge Maria Valdez
                                  )
   TRANSWORLD SYSTEMS INC. et.al. )
               Defendants.        )



         PLAINTIFF’S MOTION TO ENFORCE SETTLEMENT AGREEMENT

       Plaintiffs Sharon Eul, et al., on behalf of the class (“Plaintiffs”), through their attorneys,

respectfully request that this Court enter an order enforcing the terms of the settlement agreement

approved by this Court on May 31, 2018 (Dkt. 126) and to enter a judgment for attorney’s fees for

the additional time class counsel has incurred enforcing the settlement agreement.

       In support of this motion, Plaintiffs state as follows:

       1.      Plaintiffs and Defendants negotiated a Class Action Settlement (“the Settlement”)

in the instant action. See, Settlement Agreement (Dkt. 108), attached as Exhibit 1.

       2.      This court entered an Amended Final Approval Order on the Settlement on May

31, 2018 (Dkt. 126).

       3.      The parties’ settlement provided for certain relief to be provided to the Class by

Defendants, including a provision whereby plaintiffs and settlement class members would “have

the option of enrolling into a Higher Education Loan Program (‘HELP’).” Exhibit 1, p. 6.




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       4.       Under Section 10(c) of the Settlement, each “HELP Settlement Class member [is]

permitted to begin repayment on each of their defaulted . . . loans by making 9 payments over a

10-month period, with the aggregate amount of the required payments to equal 2% of the

outstanding balance, provided that each of the separate 9 payments [is] no less than $25, and

[does not] exceed $500.” Exhibit 1, p. 6. When the 9 payments are made within the 10-month

period, “each Plaintiff and HELP Settlement Class member [is] permitted to . . . settle the . . .

debt for 62.5% of the outstanding balance.” Exhibit 1, p. 7. The negotiated balance of the debt is

then “repaid over a period of 120 months” beginning after “the 10-month period where the 9

payments were made[,]” during which time Defendants agreed not to charge interest as long as

payments are made on time. Exhibit 1, p. 7.

       5.       Section 12 of the Settlement established a deadline of 75 days from the entry of

the Preliminary Approval Order to submit a HELP enrollment form. Exhibit 1, p. 10.

       6.       Section 14 of the Settlement set forth a procedure for class members to enroll in

HELP using an online system that would “be created and maintained by the third-party

settlement administrator or TSI, as servicer of the loans.” Exhibit 1, p. 11.

       7.       Despite repeated requests from class counsel and the fact that the deadline to opt

into HELP was April 2, 2018 (Dkt. 111), Defendants have not made HELP available to class

members who opted in.

       8.       Class counsel has on numerous occasions asked Defendants’ counsel for a clear

answer on when class members can expect to start HELP. Defendants have given vague

responses and have suggested the HELP program would begin by certain dates which have long

since passed.

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       9.      Most recently, Class counsel emailed the attorney for defendants on December

11, 2018 inquiring as to the status of HELP. Class counsel has of the time of this filing received

no response.

       10.     Defendants’ inaction poses a hardship for class members, who are unable to plan

financially with the uncertainty of HELP looming over them.

       WHEREFORE, Plaintiff respectfully requests that this Court (1) enter an order compelling

Defendants to comply with the terms of the agreement and (2) enter judgment against Defendants

for the time and expense incurred by class counsel in bringing this motion and enforcing the

Agreement.



                                                     Respectfully submitted,

                                                     /s/ Cathleen M. Combs
                                                     Cathleen M. Combs

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                                  CERTIFICATE OF SERVICE

       I, Cathleen M. Combs, hereby certify that on December 20, 2018, I filed the forgoing

document with the Clerk of the Court using the CM/ECF System, which caused to be sent

notification of such filing to call counsel of record.



                                                         /s/ Cathleen M. Combs
                                                         Cathleen M. Combs



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